                                                                                Case 3:14-cr-00175-WHA Document 957 Filed 01/03/19 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                                                             No. CR 14-00175 WHA
                                                                                             Plaintiff,
                                                                         11
United States District Court




                                                                                v.                                                      REQUEST FOR FURTHER
                                                                                                                                        INFORMATION RE ATLAS FIRE
                               For the Northern District of California




                                                                         12   PACIFIC GAS AND ELECTRIC
                                                                         13   COMPANY,

                                                                         14                  Defendant.
                                                                                                                          /
                                                                         15
                                                                         16          By JANUARY 10 AT NOON, defendant Pacific Gas & Electric Company shall file all data,

                                                                         17   documents, and testimony underlying the reports PG&E submitted concerning the Atlas Fire

                                                                         18   (Exhs. M, FF) and shall further explain what privileged and non-privileged information has not

                                                                         19   been provided, supplying a privilege log as to any claim of privilege. This order postpones the

                                                                         20   question of the adequacy of PG&E’s response to the fourth question contained in the November

                                                                         21   27 notice regarding California wildfires.

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                                                                         23          IT IS SO ORDERED.

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                                                                         25   Dated: January 3, 2019.
                                                                                                                                      WILLIAM ALSUP
                                                                         26                                                           UNITED STATES DISTRICT JUDGE

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